                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION

JAMES E. HYMAN                                 )
                                               )
        Plaintiff,                             )
                                               )         NO. 3:22-cv-01081
v.                                             )
                                               )         JUDGE CAMPBELL
YESCARE CORP., et al.,                         )         MAGISTRATE JUDGE HOLMES
                                               )
        Defendants.                            )


                                            ORDER

       The parties have filed a Stipulation of Dismissal indicating that all claims in this action

may be dismissed with prejudice. (Doc. No. 38). Pursuant to the agreement of the parties, this

action is DISMISSED with prejudice. The Clerk is directed to close the file.

       It is so ORDERED.

                                                    ____________________________________
                                                    WILLIAM L. CAMPBELL, JR.
                                                    UNITED STATES DISTRICT JUDGE




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